     4:11-cv-03430-TLW           Date Filed 12/16/11   Entry Number 1   Page 1 of 8




                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH CAROLINA
                              FLORENCE DIVISION

Anthony A. Gaetano,                         )
                                            )
                    Plaintiff               )
                                            )
v.                                          )     Civil Action No.:______________
                                            )
Portfolio Recovery Associates,              )
LLC,                                        )
                                            )     Jury Trial Demanded
                                            )
                    Defendant.              )


                                       COMPLAINT

1.    This is an action brought by the Plaintiff, Anthony A. Gaetano, for actual and

      statutory damages, attorney’s fees, and costs for Defendant’s violations of the Fair

      Debt Collection Practices Act, 15 U.S.C. §1692 et seq, (hereinafter “FDCPA”). The

      Plaintiff also seeks compensatory and punitive damages for the Defendant’s violations

      of South Carolina’s common laws set forth herein.

                                JURISDICTION AND VENUE

2.    This Court has Jurisdiction under 15 U.S.C. § 1692k(d), and 28 U.S.C. §1331, §1332,

      and §1367. Venue is proper in that the Defendant transacted business here, and the

      Plaintiff resides here.

                                          PARTIES

3.    The Plaintiff, Anthony A. Gaetano, is a resident and citizen of the State of South

      Carolina, Florence County, and is over the age of twenty-one (21) years. Plaintiff is
     4:11-cv-03430-TLW          Date Filed 12/16/11   Entry Number 1      Page 2 of 8




     a “consumer” as that term is defined in 15 U.S.C. §1692a(3).

4.   Portfolio Recovery Associates, LLC (“PRA”)is a Virginia Corporation and can be

     served with process through its President and CEO, Steve Fredrickson, 120 Corporate

     Blvd., Norfolk, VA 23502. The Defendant, was in all respects and at all times

     relevant herein, doing business in the state of South Carolina and in this Division.

     The Defendant is engaged in the business of collecting consumer debts from

     consumers residing in South Carolina and is a “debt collector,” as defined by the

     FDCPA 15 U.S.C. § 1692a(6).

                             FACTUAL ALLEGATIONS

5.   On or about August 17, 2011, the Defendant sent correspondence to the Plaintiff in

     which the Defendant indicated that it had purchased an account allegedly owed by the

     Plaintiff. Said correspondence indicated that the Plaintiff had 30 days to request

     validation of the alleged debt and that upon receipt of a written request by the

     Plaintiff, the Defendant would provide verification of the alleged debt.

6.   After sending correspondence to the Plaintiff, the Defendant began to make harassing

     phone calls to the Plaintiff in an attempt to collect the alleged debt.

7.   Between the dates of August 31, 2011 and the filing of this lawsuit, the Defendant has

     made no less than 36 harassing phone calls to the Plaintiff in an attempt to collect an

     alleged debt.

8.   On August 31, 2011, the Defendant called the Plaintiff four times in an attempt to

     collect an alleged debt.
      4:11-cv-03430-TLW        Date Filed 12/16/11     Entry Number 1      Page 3 of 8




9.    The Defendant called the Plaintiff on more than one occasion on each of the

      following days: September 12, September 13, September 15, October 20, November

      9 and November 17.

10.   On October 25, 2011, the Defendant called the Plaintiff and told the Plaintiff that the

      debt was reporting the debt as a new debt and that it would stay on his credit for seven

      years.

11.   On October 29, 2011, the Defendant called the Plaintiff at 8:10 A.M. Saturday

      morning. The Plaintiff asked the Defendant who owned the debt and the Defendant

      refused to divulge the requested information. The Defendant told the Plaintiff that the

      last payment on the debt was made on July 6, 2006.

12.   On November 26, the Defendant again called the Plaintiff. During this call, the

      Defendant again told the Plaintiff they would report this account for seven years on

      his credit report.

13.   On a number of occasions, the Defendant caused a false name to appear on the

      Plaintiff’s caller ID. Such a practice is common in the debt collection industry and is

      known as “spoofing”.

                                COUNT ONE
                   FAIR DEBT COLLECTIONS PRACTICES ACT

14.   The Plaintiff adopts the averments and allegations of paragraphs 5 through 13

      hereinbefore as if fully set forth herein.

15.   The Defendant has engaged in collection activities and practices in violation of the Fair
      4:11-cv-03430-TLW        Date Filed 12/16/11     Entry Number 1       Page 4 of 8




      Debt Collection Practices Act with respect to the Plaintiff and his alleged consumer

      debt.

16.   The Defendant violated §1692c(a)(1) by contacting the Plaintiff at a time or place

      Defendant knew or should have known was inconvenient to the Plaintiff.

17.   The Defendant violated §1692d by engaging in conduct the natural consequence of

      which was to harass, oppress, or abuse the Plaintiff by repeatedly telephoning the

      Plaintiff at home and on his cell phone with the intent to annoy, abuse, or harass the

      Plaintiff in an effort to coerce him into paying a debt in violation of §1692d(5).

18.   The Defendant violated §1692f by using unfair and/or unconscionable means to

      attempt to collect a debt, including but not limited to sending false information to the

      Plaintiff’s caller ID, or “spoofing”, as well as refusing to identify the owner of the

      debt.

19.   The Defendant violated §1692f by using unfair and/or unconscionable means to

      attempt to collect a debt, including but not limited to reporting this account as a new

      account rather than reporting from date last paid.

20.   The Defendant violated §1692g(3) by requiring the Plaintiff to make a written request

      to receive validation of the alleged debt.

21.   As a proximate result of the Defendant’s actions, the Plaintiff was caused to suffer

      worry, humiliation, fear, loss of sleep, anxiety, nervousness, physical sickness, physical

      pain and mental anguish for which he seeks the maximum statutory damages, actual

      damages, plus attorney’s fees and costs.
      4:11-cv-03430-TLW        Date Filed 12/16/11    Entry Number 1       Page 5 of 8




                              COUNT TWO
                   NEGLIGENT TRAINING AND SUPERVISION

22.   The Plaintiff adopts the averments and allegations of paragraphs 5 through 21

      hereinbefore as if fully set forth herein.

23.   The Defendant knew or should have known of its inadequate training and supervision.

      If the Defendant had properly trained and supervised its employees, agents, and

      assigns, the conduct set forth herein which was directed at and visited upon the

      Plaintiff would not have occurred.

24.   The Defendant knew or should have known that the conduct of its employees, agents,

      and/or assigns was improper and was in violation of the FDCPA as well as South

      Carolina state and common law.

25.   The Defendant negligently failed to train and supervise its employees, agents, and/or

      assigns in order to prevent said improper conduct.

26.   As a result of the Defendant’s negligence, the Plaintiff suffered humiliation, loss of

      sleep, anxiety, nervousness, physical sickness, physical and mental suffering, pain, and

      anguish.

                         COUNT THREE
          RECKLESS AND WANTON TRAINING AND SUPERVISION

27.   The Plaintiff adopts the averments and allegations of paragraphs 5 through 26

      hereinbefore as if fully set forth herein.

28.   The Defendant knew or should have known of its inadequate training and supervision.

      If the Defendant had properly trained and supervised its employees, agents, and
      4:11-cv-03430-TLW         Date Filed 12/16/11     Entry Number 1       Page 6 of 8




      assigns, the conduct set forth herein which was directed at and visited upon the

      Plaintiff would not have occurred.

29.   The Defendant knew or should have known that the conduct of its employees, agents,

      and/or assigns was improper and in violation of the FDCPA as well as South Carolina

      state and common law.

30.   The Defendant recklessly and wantonly failed to train and supervise its employees,

      agents, and/or assigns in order to prevent said improper conduct.

31.   As a result of the Defendant’s recklessness and wantonness, the Plaintiff suffered

      humiliation, loss of sleep, anxiety, nervousness, physical sickness, physical and mental

      suffering, pain, and anguish.

                            COUNT FOUR
             SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT

32.   The Plaintiff hereby adopts all of the allegations set forth in paragraphs 5 through 31

      as if set forth fully herein.

33.   The activities of the Defendant constitute “trade or commerce” as defined by South

      Carolina Code §39-5-10, et. seq. (As amended).

34.   The actions of the Defendant described above constitute unfair and deceptive acts and

      practices in the conduct of trade and commerce, as prohibited by the South Carolina

      Unfair Trade Practices Act, §39-5-10 et.seq. and are knowing and willful violations

      thereof.

35.   The Plaintiff further alleges that the actions of the Defendant have a real and

      substantial potential for repetition and are a threat to the public interest.
       4:11-cv-03430-TLW       Date Filed 12/16/11    Entry Number 1       Page 7 of 8




36.   The Plaintiff has suffered an ascertainable loss due to the unlawful actions of the

      Defendant and is entitled, under § 39-5-140, to recover actual damages in an amount

      to be proven at trial, treble of said actual damages for Defendant’s knowing and willful

      behavior, and an award of reasonable attorney’s fees and costs.

                       AMOUNT OF DAMAGES DEMANDED

      WHEREFORE, PREMISES CONSIDERED, Plaintiff demands a judgment against the

Defendant for the following:

      A.     Actual damages for the Defendant’s violations of the FDCPA;

      B.     Statutory damages of $1,000 for the Plaintiff pursuant to 15 U.S.C. §1692k;

      C.     Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k;

      D.     Compensatory and punitive damages against Defendant in an amount to be

             determined by a struck jury on Plaintiff’s state law claims for damages due to

             the Defendant’s Negligent Training, Reckless and Wanton Training and

             Supervision;

      E.     For relief in amounts or other appropriate relief as may be determined for the

             Plaintiff’s actual damages, for the Plaintiff’s actual damages to be trebled by

             the Court as it deems proper, and attorney’s fees against Defendant for its

             violations of the South Carolina Unfair Trade Practices Act, Sections §39-5-10,

             et seq. of the South Carolina Code of Laws Annotated; and

      F.     For such other and further relief as the Court may deem just and proper.


                                          /s/ Penny Hays Cauley
      4:11-cv-03430-TLW      Date Filed 12/16/11   Entry Number 1   Page 8 of 8




                                       Penny Hays Cauley, Fed ID#10323
                                       Attorney for Plaintiff

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    PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY ON ALL COUNTS


                                       /s/ Penny Hays Cauley
                                       Penny Hays Cauley

DEFENDANT TO BE SERVED VIA CERTIFIED MAIL, RESTRICTED DELIVERY:

Portfolio Recovery Associates, LLC
c/o Steve Fredrickson, President and CEO
120 Corporate Blvd.
Norfolk, VA 23502
